UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

KILMAR ARMANDO ABREGO
GARCIA, et al.,

Plaintiffs,

* No. 8:25-cv-00951-PX
KRISTI NOEM, Secretary of Homeland
Security, et al.,

Declaration Of Joseph N. Mazzara

Defendants.

DECLARATION OF JOSEPH N. MAZZARA
I, Joseph N. Mazzara, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

1. I am the Acting General Counsel at the Department of Homeland Security.

2. I provide this declaration based on my personal knowledge, reasonable inquiry, and
information obtained from other Department of Homeland Security (DHS) employees.

3. I am aware that the instant lawsuit has been filed regarding the removal of Kilmer
Armando Abrego Garcia (Abrego-Garcia) to El Salvador.

4. On March 15, 2025, Abrego Garcia, a native and citizen of El Salvador, was
removed to El Salvador, pursuant to Title 8 of the United States Code. See Declaration of Evan C.
Katz, Abrego Garcia v. Noem, No. 8:25-cv-00951-PX (D. Md. Apr. 13, 2025), ECF No. 64 4.

5. During bond proceedings in 2019, an Immigration Judge upheld DHS’s decision
not to grant bond, finding that DHS’s determination that he was a member of MS-13 was
“trustworthy” and “supported by other evidence,” and noted that Abrego Garcia “failed to present

evidence to rebut that assertion.” The Board of Immigration Appeals upheld the finding when
Abrego Garcia appealed. See Declaration of Evan C. Katz, Abrego Garcia v. Noem, No. 8:25-cv-
00951-PX (D. Md. Apr. 13, 2025), ECF No. 64 6.

6. Abrego Garcia was ordered removed by an Immigration Judge. He was also granted
withholding of removal by an Immigration Judge. Abrego Garcia is no longer eligible for
withholding of removal because of his membership in MS-13, which is now a designated foreign
terrorist organization. See Declaration of Evan C. Katz, Abrego Garcia v. Noem, No. 8:25-cv-
00951-PX (D. Md. Apr. 13, 2025), ECF No. 64 ¥ 7.

7. DHS has established processes for taking steps to remove domestic obstacles that
would otherwise prevent an alien from lawfully entering the United States. DHS does not have
authority to forcibly extract an alien from the domestic custody of a foreign sovereign nation.

8. I am aware that the President of El Salvador, Nayib Bukele, was in Washington,
D.C. today to meet with President Donald Trump. President Bukele and President Trump held a
bilateral summit at the White House this morning.

9. I understand that, in response to a question regarding Abrego Garcia, President
Bukele said, “I hope you’re not suggesting that I smuggle a terrorist into the United States. How
can I smuggle a terrorist into the United States? Of course I’m not going to do it. The question is

preposterous.” A video of the meeting here: https://www.youtube.com/watch?v=OhY 79kjmhh4.

I declare under penalty of perjury that the foregoing is true and correct.

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Joseph N. Mazzara
Acting General Counsel
U.S. Department of Homeland Security

Executed this 14th day of April 2025.

